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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

       Plaintiff,                                    Case No. 16-20062

 v.
                                                     HON. DENISE PAGE HOOD
 TIMOTHY PRICE,

      Defendant.
 ________________________________/

                     ORDER GRANTING DEFENDANT’S
                    MOTION FOR EARLY TERMINATION
                    FROM SUPERVISED RELEASE [#700]

       On October 17, 2016, Defendant Timothy Price pleaded guilty to RICO

 conspiracy for his involvement in the Rollin 60s Crips. On January 29, 2018, the

 Court sentenced Defendant below the applicable guideline range to a term of 48

 months in prison, followed by three years of supervised release. See ECF No. 551.

 After completing his sentence, Defendant’s supervised release period commenced on

 August 2, 2019.

       On August 14, 2020, Defendant filed a Motion for Early Termination from

 Supervised Release. ECF No. 700. Defendant states, in relevant part:

       I have maintained full-time employment, and remained drug and crime
       free. I need no services that the probation Department offers. I have a
       child on the way, and two . . . other daughters’ [sic] whom I care for. I
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       respectfully ask that the court consider me for early termination based on
       the successful adjustment to supervised release I have [d]emonstrated
       and has changed my life.

 ECF No. 700, PageID 6606. The Government has filed a response. The Probation

 Department also filed a memo with the Court regarding Defendant’s supervised

 release period.

       It is undisputed that Defendant has complied with all terms of his supervised

 release for the last year. The Probation Department reports that Defendant has been

 in compliance with the terms of his probation, has held and continues to hold full-time

 employment, resides with his uncle who is very supportive (and they soon will be

 moving out of the City of Detroit), has had no criminal conduct, no positive drug

 screens and has not been a problem in any manner. The Probation Department has no

 objection to Defendant’s request for early termination of his supervised release.

       The Government acknowledges Defendant’s compliance with the terms of his

 supervised release, but it argues that early termination of supervised release should be

 granted only in extraordinary circumstances, such as “exceptionally good behavior.”

 United States v. Atkin, 38 F. App’x 196, 198 (6th Cir. 2002). The Government

 contends that Defendant has done no more than comply with the terms of his

 supervised release – which is not exceptional or unusual.




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       The applicable statute, 18 U.S.C. § 3583(e), provides district courts with

 authority to grant early termination of supervised release if, in the discretion of the

 Court, such relief is appropriate and in the interests of justice. That section provides:

       The court may, after considering the factors set forth in Section
       3553(a)(1), (a)(2)(B), (a)(2)(C), (a)(2)(D), (a)(4), (a)(5), (a)(6), and
       (a)(7) – (1) terminate a term of supervised release and discharge the
       defendant released at any time after the expiration of one year of
       supervised release, pursuant to the provisions of the Federal Rules of
       Criminal Procedure relating to the modification of probation, if it is
       satisfied that such action is warranted by the conduct of the defendant
       released and the interest of justice.

 18 U.S.C. § 3583(e).

       The Court concludes that Defendant’s motion should be granted. The Court has

 reviewed his case file and consulted with his probation officer. Defendant has

 completed over one year on supervised release. Although Defendant has been on

 supervised release for less than one-half of the three year period imposed against him,

 he has been compliant and without incident during the period of supervised release,

 has held steady employment, and is taking care of his family obligations. Defendant’s

 probation officer has recommended that Defendant’s period of supervised release be

 terminated, as he has been compliant with the terms of his supervision.

       For the reasons stated above, the Court believes that Defendant has successfully

 achieved the goals of supervised release to date. The Court finds that terminating



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 Defendant’s supervised release early is in the best interest of Defendant and will serve

 the interests of justice.

        Accordingly, for the reasons set forth above,

        IT IS ORDERED that Defendant’s Motion for Early Termination of

 Supervised Release [ECF No. 700] is GRANTED.

        IT IS ORDERED.

                                         s/Denise Page Hood
                                         DENISE PAGE HOOD
                                         United States District Judge
 DATED: September 25, 2020




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